Case 2:85-cv-04544-DMG-AGR Document 739 Filed 03/27/20 Page 1 of 1 Page ID #:34484



                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA
                                  CIVIL MINUTES - GENERAL

   Case No.    CV 85-4544-DMG (AGRx)                                   Date     March 27, 2020

   Title Jenny L. Flores v. William Barr, et al.


   Present: The Honorable      DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

                 Kane Tien                                              Miriam Baird
                Deputy Clerk                                            Court Reporter

      Attorneys Present for Plaintiff(s)                      Attorneys Present for Defendant(s)
                Peter Schey                                        Sarah B. Fabian, USDOJ
             Carlos R. Holguin                                    August E. Flentje, USDOJ
           Katherine H. Manning
             Elyse D. Echtman
              Holly S. Cooper
                Neha Desai

   Proceedings: PLAINTIFFS’ EX PARTE APPLICATION FOR TEMPORARY
                RESTRAINING ORDER AND ORDER TO SHOW CAUSE RE:
                PRELIMINARY INJUNCTION [733]

          The cause is called and counsel state their appearance via videoconference and telephone.
   Also present are Andrea Sheridan Ordin, Special Master/Independent Monitor, and Dr. Paul
   Wise. The Court invites counsel to respond to the oral tentative ruling. Following oral
   argument, the Court advises counsel that the ex parte application shall be taken under submission
   and a written order will issue.




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   CV-90                              CIVIL MINUTES - GENERAL                 Initials of Deputy Clerk KT
